             Case 3:11-cr-04726-JAH                        Document 84                Filed 04/10/12              PageID.221               Page 1 of 4


--      ""'AO 245B (CASD) (Rev, 8/(1)
                   Sheet J
                                        Judgment in a Criminal Case




                                                  UNITED STATES DISTRICT COURT                                                      12 APR I 0 PH 4: 0 I
                                                       SOUTHERN DISTRICT OF CALIFORNIA                                               ,,;;,(. tU, :
                                                                                        JUDGMENT IN A CRlMIN*:VCASE'"                                     ' ...
                         UNITED STATES OF AMERICA
                                             v.                                         (For Offenses Committed On or Aft:ry~ovember I. 19'Yl'             II
                                                                                                                                                      ~
                                                                                                                                                                    DP'IlT
                              David Alexander Drake -2                                  Case Number: l1-cr-04726-JAH-2

                                                                                        Lupe C Rodriguez Jr
                                                                                        Defendant's Attorney

         REGISTRATION NO. 28545298

         o
         THE DEFENDANT:
         ~~~~~~wro~~~M=O~o=f~ili=e~~=fu=m=a=t=~~n~,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


         o was found guilty on count(s} _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _- _ _ _ _ __
               after a plea of not guilty.
               Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                 Count
         Title & Section                          Nature of Offense                                                                             Number(s)
     18:922(g)(3); 18:924(d);               Unlawful User of a Controlled Substance in Possession of Fireams                                    2

     28:2461(c)




                                                                           4 _ _ ofthisjudgment. The sentence is imposed pursuant
             The defendant is sentenced as provided in pages 2 through _ _..:.
      to the Sentencing Rcfom Act of 1984.
      o    The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
      ~ Count(s)_r_em_ai_m_·n.;:;;g_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is ~                         areD dismissed on the motion ofilie United States.

      181 Assessment: $100.00.

      181 Fine $1,500.00                                 o Forfeiture pursuant to order filed ----------------
                                                                                                    2/2112     • included herein.
            IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name, residence.
      or mailing address until all fines, restitution, costs. and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
      defendant shall notify the court and United States attorney of any material change in the defendant's economic circumstances.




                                                                                                                                                11-cr-04726-JAH-2
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AO 245B (CAS D) (Rev. 8/11) Judgment in a Criminal Case
           Sheet 2 -- Probation
                                                                                                             Judgment Page        2     of   _-"4'---_ _
DEFENDANT: David Alexander Drake-2                                                                     II
CASE NUMBER: ll-cr-04726.JAH-2
                                                                   PROBATION
The defendant is hereby sentenced to probation for a term of:
 Five years.

The defendant shall not commit another federal, state. or local crime.
For offenses committed on or after September J 3, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain fl:om any unlawful use o~ a ~ontrolled
substance. The defendant shall submit to one drug test within 15 days of placement on probatIOn and at least two periodIc drug te~ts
thereafter as determined by the court. Testing requirements will not exceed submission of more than_ _drug tests per month dUring
the term of supervision, unless otherwise ordered by court.

o       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, ifapplicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
        Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
        by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted of a qualifying offense. (Check ifapplicable.)
o       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          lfthis judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment,
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.

                                        ST ANDARD CONDITIONS OF SUPERVISION
  I)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
          of each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use ofalcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shaH not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at bome or elsewhere and shall permit confiscation of
          any contraband observed in plain view of the probation officer;
 II)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
          officer;
 12)      the d~fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permISSIOn of the court; and
 13)      as,di!ected by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
          cTlmmal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
          the defendant's compliance with such notification requirement.


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       AO 2458 (CASD) (Rev. 8/11) Judgment in a Criminal Case
                   Sheet 3 -   Special Conditions
                                                                                                         Judgment··-Page - L - of _ _4:!.-_ _
       DEFENDANT: David Alexander Drake -2
       CASE NUMBER: II-cr-04726-JAH-2




                                                SPECIAL CONDITIONS OF SUPERVISION
~ Submit person, residence, office or vehicle to a ~e~rch, conducted by a U~ited States ~rob~tion Officer ~~ a reasonable tin:e and in a  .
    reasonable manner, based upon reasonable SuspICIOn of contraband or eVidence of a vIOlatIOn of a condition of release; failure to submIt to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
o   If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer with 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o   Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally.
o   Not enter the Republic of Mexico without written permission of the Court or probation officer.
o   Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o   Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o   Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release ofthe presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.
o   Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
o   Provide complcte disclosurc ofpersonal and business financial records to the probation officer as requested.
o   Bc prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.

o   Seek and maintain full time employment andlor schooling or a combination of both.
o   Resolve all outstanding warrants within               days.
o   Complete             hours of community servicc in a program approved by the probation officer within
o   Rcside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of

o   Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.




                                                                                                                                  II-cr-04726-JAH-2
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AO 245S      Judgment in Criminal Case
             Sheet 5   Criminal MOlletary Penalties

                                                                                                       Judgment - Page _ _4_ _ of   4
DEFENDANT: David Alexander Drake
CASE NUMBER: II-cr-04726-JAH-2
                                                                                                 a
                                                                        FINE

      The defendant shall pay a fine in the amount              _____$_1_,5_0_0_.0_0____" ... ~ the United States of America.




          This sum shall be paid           "     immediately.
                                                 as follows:




          The Court has determined that the defendant does not             have the ability to pay interest. It is ordered that:

   ~ The interest requirement is waived.


           The interest is modified as follows:




                                                                                                      ll-cr-04726-JAH-2
